Case 0:18-cv-62758-WPD Document 409 Entered on FLSD Docket 11/22/2021 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                             CONSOLIDATED ACTION
                                            Case No. 18-62758-CIV-DIMITROULEAS
                                            Case No. 19-61623-CIV-DIMITROULEAS
                                            Case No. 20-60303-CIV-DIMITROULEAS
                                            Case No. 20-60306-CIV-DIMITROULEAS
                                            Case No. 20-60307-CIV-DIMITROULEAS
                                            Case No. 20-60308-CIV-DIMITROULEAS
                                            Case No. 20-60310-CIV-DIMITROULEAS
                                            Case No. 20-60311-CIV-DIMITROULEAS
                                            Case No. 20-60317-CIV-DIMITROULEAS
                                            Case No. 20-60319-CIV-DIMITROULEAS
                                            Case No. 20-60322-CIV-DIMITROULEAS
                                            Case No. 20-60325-CIV-DIMITROULEAS
                                            Case No. 20-60326-CIV-DIMITROULEAS
                                            Case No. 20-60327-CIV-DIMITROULEAS
                                            Case No. 20-60328-CIV-DIMITROULEAS
                                            Case No. 20-60330-CIV-DIMITROULEAS
                                            Case No. 20-60331-CIV-DIMITROULEAS
                                            Case No. 20-60332-CIV-DIMITROULEAS
                                            Case No. 20-60333-CIV-DIMITROULEAS
                                            Case No. 20-60481-CIV-DIMITROULEAS
                                            Case No. 20-60483-CIV-DIMITROULEAS
                                            Case No. 20-61088-CIV-DIMITROULEAS
                                            Case No. 20-61103-CIV-DIMITROULEAS
                                            Case No. 20-61894-CIV-DIMITROULEAS
                                            Case No. 20-61895-CIV-DIMITROULEAS
                                            Case No. 20-61896-CIV-DIMITROULEAS
                                            Case No. 20-61919-CIV-DIMITROULEAS
                                            Case No. 20-62470-CIV-DIMITROULEAS
                                            Case No. 20-62471-CIV-DIMITROULEAS
                                            Case No. 20-62472-CIV-DIMITROULEAS
                                            Case No. 20-62473-CIV-DIMITROULEAS
                                            Case No. 20-62476-CIV-DIMITROULEAS
                                            Case No. 20-62485-CIV-DIMITROULEAS
                                            Case No. 20-62486-CIV-DIMITROULEAS
                                            Case No. 20-62487-CIV-DIMITROULEAS
                                            Case No. 20-62497-CIV-DIMITROULEAS
                                            Case No. 20-62508-CIV-DIMITROULEAS
                                            Case No. 20-62509-CIV-DIMITROULEAS
                                            Case No. 20-62513-CIV-DIMITROULEAS
                                            Case No. 20-62516-CIV-DIMITROULEAS
                                            Case No. 20-62525-CIV-DIMITROULEAS
Case 0:18-cv-62758-WPD Document 409 Entered on FLSD Docket 11/22/2021 Page 2 of 3




   IN RE: MARJORY STONEMAN DOUGLAS
   HIGH SCHOOL SHOOTING FTCA LITIGATION
   ______________________________________/


                              ORDER ON NOTICE OF SETTLEMENT

          THIS CAUSE came before the Court on the Joint Notice of Agreement to Settle and

   Motion to Stay Proceedings, filed on November 22, 2021, whereby the parties advise the Court

   that they have reached an agreement to settle all of the claims at issue in these consolidated

   actions. See [DE 408]. The parties further state that they are presently working to finalize

   additional details before submission for final approval by the appropriate Department of Justice

   official and that, once those details are finalized and approval is granted, they will ask that the

   Court dismiss these actions in their entirety. See id.

          In light of the settlement of this case, it is hereby

          ORDERED AND ADJUDGED as follows:

          1. All pending motions are hereby DENIED AS MOOT.

          2. On or before December 20, 2021, the parties shall either file the appropriate

              dismissal papers or file a status report regarding the expected timeline for the filing of

              the appropriate dismissal papers.


          DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida this

   22nd day of November, 2021.
Case 0:18-cv-62758-WPD Document 409 Entered on FLSD Docket 11/22/2021 Page 3 of 3




   Copies furnished to:
   Counsel of record
